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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
___________________________________

 UNITED STATES OF AMERICA,

       v.                                              18-CR-120-LJV
                                                       DECISION & ORDER
 ALEXIS V. HALL,

            Defendant.
___________________________________


      1. On July 24, 2020, the defendant, Alexis V. Hall, pleaded guilty to

a one-count superseding information charging a violation of Title 21, United States

Code, Section 846 (conspiracy to possess with intent to distribute at least 5 grams of

methamphetamine and conspiracy to distribute that substance). Docket Item 627.

      2.     On July 24, 2020, the Honorable Michael J. Roemer, United States

Magistrate Judge, filed a Report & Recommendation recommending that the

defendant’s plea of guilty be accepted and that the defendant be adjudged guilty.

Docket Item 629.

      3. This Court has not received objections to the Report & Recommendation in

accordance with Title 28, United States Code, Section 636(b)(1), and Rule 59(b) of the

Federal Rules of Criminal Procedure, and the time to object now has expired.

      4. This Court has carefully reviewed de novo Judge Roemer’s

Report & Recommendation (docket item 629), the plea agreement (docket item 627),

the information (docket item 626), a transcript of the plea proceeding held via Zoom for

government (docket item 658), and the applicable law. This Court finds no legal or

factual error in Judge Roemer’s Report & Recommendation and therefore adopts Judge
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Roemer’s recommendation that the defendant’s plea of guilty be accepted and that the

defendant be adjudged guilty of Count 1 of the superseding information.

         IT IS HEREBY ORDERED that this Court adopts Judge Roemer’s July 24, 2020

Report & Recommendation, Docket Item 629, in its entirety, including the authorities

cited and the reasons given therein, and it is further

         ORDERED that the Court accepts the defendant’s plea of guilty and defers

acceptance of the plea agreement pursuant to Sentencing Guidelines Section 6B1.1(c),

and the defendant, Alexis V. Hall, is now adjudged guilty under Title 21, United States

Code, Section 846.



         SO ORDERED.

Dated:         November 6, 2020
               Buffalo, New York



                                               s/ Lawrence J. Vilardo
                                              LAWRENCE J. VILARDO
                                              UNITED STATES DISTRICT JUDGE




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